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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA            )
                                    )          CRIMINAL ACTION NO.
     v.                             )              2:18cr95-MHT
                                    )
MARTINEZA DEWAN McCALL              )

                                ORDER

    It is ORDERED that:

    (1)     The   probation     department        shall         arrange    for

defendant     Martineza      Dewan      McCall        to       receive,    and

defendant         McCall         shall           participate               in,

cognitive-behavioral         therapy       twice           a     month,     as

recommended in the recently filed psychological report

(doc. no. 105).

    (2)   The     court   assumes       that    the    parties      have    no

objection to this modification of defendant McCall’s

conditions of supervised release.                However, if they do,

they must file an objection to this order within seven

days of the date of this order.

    DONE, this the 27th day of August, 2020.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
